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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       JESSE HERNANDEZ, et al.,                         Case No. 5:13-cv-02354-PSG
                                   8                    Plaintiffs,                         ORDER GRANTING-IN-PART
                                                                                            DEFENDANTS' MOTIONS FOR
                                   9              v.                                        APPROVAL OF IMPLEMENTATION
                                                                                            PLANS AND DENYING AS MOOT
                                  10       COUNTY OF MONTEREY, et al.,                      CFMG'S FIRST MOTION FOR
                                                                                            APPROVAL OF IMPLEMENTATION
                                  11                    Defendants.                         PLAN
                                  12                                                        (Re: Docket No. 514, 517, 532)
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                                  13            Defendants County of Monterey and California Forensic Medical Group move for

                                  14   approval of their plans implementing the settlement agreement between them and Plaintiffs Jesse

                                  15   Hernandez et al.1 As an initial matter, CFMG has two motions for approval pending.2 CFMG

                                  16   first moved for approval of its implementation plan on Feb. 19, 2016,3 and then moved for

                                  17   approval of a revised implementation plan after meeting and conferring with Plaintiffs.4 The court

                                  18   DENIES CFMG’s Feb. 19 motion as moot in light of CFMG’s revised plan. With respect to

                                  19   CFMG, this order relies on CFMG’s revised implementation plan, filed as Docket No. 532.

                                  20            The court has considered all of Plaintiffs’ objections to Defendants’ proposed

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                                           See Docket Nos. 514, 517, 532.
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                                           See Docket Nos. 517, 532.
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                                  25       See Docket No. 517.
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                                  26       See Docket No. 532.

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                                       Case No. 5:13-cv-02354-PSG
                                  28   ORDER GRANTING-IN-PART DEFENDANTS' MOTIONS FOR APPROVAL OF
                                       IMPLEMENTATION PLANS AND DENYING AS MOOT CFMG'S FIRST MOTION FOR
                                       APPROVAL OF IMPLEMENTATION PLAN
                                   1   implementation plans, as presented in Plaintiffs’ briefing and at oral argument.5 The court

                                   2   GRANTS-IN-PART Defendants’ motions for approval of their implementation plans and

                                   3   overrules Plaintiffs’ objections except as follows:

                                   4   1. Meet and confer process: the meet and confer process for each implementation plan shall

                                   5         include all Plaintiffs’ counsel.

                                   6   2. Diamond Pharmacy license: the Diamond Pharmacy pharmacist that dispenses medications

                                   7         to the Monterey County Jail in bulk or stock supply shall hold a California pharmacist license.

                                   8   3. Pharmacy pill transfer: Plaintiffs object that the licensed vocational nurses that transfer

                                   9         medication from the stock supply do so by pouring out pills, putting them by hand in

                                  10         envelopes for each patient and putting leftover pills back in the stock supply bottles.6

                                  11         Plaintiffs argue that this practice endangers patient safety.7 CFMG states that its LVNs are

                                  12         trained to take out a single dose of medication from the stock supply at a time.8 This objection
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                                  13         is resolved as follows: LVNs may transfer medication from the stock supply so long as they do

                                  14         not engage in the practice complained of.

                                  15   4. Suicide Risk Assessment Tool: Plaintiffs object that Dr. Hayward’s Suicide Risk Assessment

                                  16         Tool lacks guidance on how to use the assessment results and request that the court order

                                  17         Defendants to develop instructions for using the risk assessment tool.9 At oral argument,

                                  18         Plaintiffs stated that Hayward was available to train CFMG and the County on the tool’s use.

                                  19         This objection is resolved as follows: Hayward shall offer Defendants training on how to use

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                                           See Docket Nos. 531, 538.
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                                           See Docket No. 531 at 4.
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                                           See id. at 5-6.
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                                  25       See Docket No. 532 at 3.
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                                  26       See Docket No. 531 at 8-9.

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                                       Case No. 5:13-cv-02354-PSG
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                                   1         the suicide risk assessment tool. Defendants may use their clinical discretion in relying on the

                                   2         results of the suicide risk assessment tool.

                                   3   5. Administrative segregation classification: when inmates are placed in segregation,

                                   4         Defendants shall conduct a classification review within seven days of the placement and every

                                   5         14 days thereafter.

                                   6   6. Restraint chairs: individuals placed in a restraint chair shall be under constant supervision for

                                   7         the entire time they are in the restraint chair. The restraint chair may be placed in a safety cell

                                   8         or another location in the jail.

                                   9   7. Telepsychiatry: Defendants’ implementation plans must have standards for when they can

                                  10         deviate from a typical in-person encounter and use telemedicine or telepsychiatry.

                                  11   8. Violence Reduction Implementation Plan: at oral argument, the County requested a four-

                                  12         month extension of the implementation plan’s deadline for installing a new camera system, so
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                                  13         that the County also could install new control panels for the camera system. Plaintiffs agreed

                                  14         to the four month extension. The four month extension is granted.

                                  15   9. Disability access plan: the County shall provide a copy of the neutral ADA expert’s report to

                                  16         the neutral disability access monitor and to Plaintiffs’ counsel. The neutral monitor shall

                                  17         assess the adequacy of the County’s ADA modifications.

                                  18   10. Implementation deadlines: At oral argument, the County requested a 60-day extension to all

                                  19         expired deadlines in the implementation plan. Nearly a month has passed since oral argument.

                                  20         The County shall have a 90-day extension of all expired deadlines in the implementation plan.

                                  21         CFMG requests 45 days to train its staff on the implementation plan, before requiring its

                                  22         implementation.10 CFMG shall have 45 days for training.

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                                  26        See Docket No. 532 at 1.

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                                   1   SO ORDERED.

                                   2   Dated: May 27, 2016
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                                   3                                      PAUL S. GREWAL
                                                                          United States Magistrate Judge
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